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                                            UNITED STATES DISTRICT COURT
                                                       for the
                                           EASTERN DISTRICT OF CALIFORNIA

                                       PRETRIAL SERVICES VIOLATION PETITION

   UNITED STATES OF AMERICA,                                                   Docket No. 2:17-CR-232-GEB-1
                   v.                                                          Federal Charges: 18:1955(a) – Conducting an Illegal
                                                                               Gambling Business. Criminal Forfeiture.
              Yaniv Gohar

COMES NOW, Darryl Walker Pretrial Services Officer of the Court, presenting an official report upon the conduct of Yaniv
Gohar , who was placed on bond by the Honorable Deborah Barnes sitting in the Court at Sacramento, California, on December
21, 2017, who imposed the following RELEVANT condition(s) of pretrial release which are at issue in this report:

RELEVANT CONDITION(S): 1. That you shall not commit any offense in violation of federal, state or local law while on
release in this case.

ALLEGED VIOLATION CONDUCT: On December 25, 2017, the defendant was arrested/cited for violating California
Vehicle Code 23103(a) – Reckless Driving (Berkeley Police Report # 17-77993).

PRAYING THAT THE COURT WILL ORDER a bail violation hearing be scheduled for 2:00 p.m. on January 3, 2018,
before the Duty Magistrate to address the alleged violation. All parties and the defendant have been notified.

I declare under penalty of perjury that the foregoing is true and correct.

                                                                             Respectfully submitted,


                                                                             /s/ Darryl Walker
Dated: December 29, 2017                                                     U.S. Pretrial Services Officer

                                                               ORDER

 ☐      The Court hereby orders a bench warrant be issued for the arrest of the defendant.
 ☐      The Court hereby orders this ex parte motion and order be sealed.
 ☐      The Court orders a summons be issued with an appearance date of              .
 ☒      The Court hereby orders this matter placed on this court's calendar on January 3, 2018 at 2:00 p.m., and orders the
        Pretrial Services officer to contact the defendant and/or attorney of record to advise them of said order.
 ☐      The Court orders no action be taken.
 ☐      Petition submitted by email/pdf and attested to me as true and accurate by telephone consistent with Fed. R. Crim. P. 4.1
        and 4(d) before me.

Dated: December 29, 2017
